      Case 1:19-cv-00072 Document 11 Filed on 08/09/19 in TXSD Page 1 of 2




                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

DIANA ALANIZ,                                   §
Plaintiff,                                      §
                                                §
v.                                              §     CIVIL ACTION NO. 1:19-cv-00072
                                                §
AAA LOAN COMPANY,                               §
Defendant.                                      §


              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii), Plaintiff Diana Alaniz (“Alaniz”) files this

stipulation of dismissal with prejudice to refiling as to the above captioned action. Claims by and

between Alaniz and Defendant AAA Company d/b/a AAA Loan Company (“AAA”) have been

resolved. Accordingly, Alaniz and AAA hereby stipulate and agree through their respective

counsel that the above captioned action and any and all claims and causes of action by Alaniz

against AAA shall be dismissed with prejudice to refiling, with attorneys fees and costs to be

borne by the party incurring same. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), this action may be

dismissed with prejudice without court order.

       Dated: August 9, 2019


/s/ Carl R. Galant (with consent)                   /s/ Alexander J. Taylor
Carl R. Galant                                      Alexander J. Taylor
State Bar No. 24050633                              Sulaiman Law Group, Ltd.
MCGINNIS LOCHRIDGE LLP                              2500 South Highland Ave., Ste. 200
600 Congress Avenue, Suite 2100                     Lombard, Illinois 60148
Austin, Texas 78701                                 (630) 575-8181
(512) 495-6083                                      ataylor@sulaimanlaw.com
(512) 505-6383 Fax
cgalant@mcginnislaw.com                             ATTORNEYS FOR PLAINTIFF

ATTORNEYS FOR DEFENDANT



                                                          Agreed Stipulation of Dismissal with Prejudice
                                                                                                       1
     Case 1:19-cv-00072 Document 11 Filed on 08/09/19 in TXSD Page 2 of 2




                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                   /s/ Alexander J. Taylor
                                                   Alexander J. Taylor




                                                          Agreed Stipulation of Dismissal with Prejudice
                                                                                                       2
